Case: 23-15399, 07/17/2024, ID: 12897349, DktEntry: 43-1, Page 1 of 12




                          FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT

         ALEXANDER BEHREND,                         No. 23-15399

                       Plaintiff-Appellant,       D.C. No. 3:21-cv-
                                                     01905-JSC
          v.

         SAN FRANCISCO ZEN CENTER,                    OPINION
         INC.,

                       Defendant-Appellee.

                Appeal from the United States District Court
                   for the Northern District of California
               Jacqueline S. Corley, District Judge, Presiding

                   Argued and Submitted April 3, 2024
                          Pasadena, California

                            Filed July 17, 2024

         Before: Ryan D. Nelson, Lawrence VanDyke, and Gabriel
                       P. Sanchez, Circuit Judges.

                        Opinion by Judge VanDyke
Case: 23-15399, 07/17/2024, ID: 12897349, DktEntry: 43-1, Page 2 of 12
         2          BEHREND V. SAN FRANCISCO ZEN CENTER, INC.


                                   SUMMARY *


             Employment Discrimination / Ministerial Exception

             Affirming the district court’s grant of summary
         judgment to San Francisco Zen Center in an employment
         discrimination action under the Americans with Disabilities
         Act, the panel held that plaintiff Alexander Behrend’s role
         as a “Work Practice Apprentice” fell within the First
         Amendment’s ministerial exception.
             The ministerial exception exempts a church’s
         employment relationship with its ministers from the
         application of employment statutes such as the Americans
         with Disabilities Act. The panel held that it was required to
         take all relevant circumstances into account and to determine
         whether Behrend’s position implicated the fundamental
         purpose of the exception, which is to ensure the
         independence of religious institutions in matters of faith
         doctrine and church government. The panel concluded that,
         even though Behrend performed mostly menial work, the
         work itself was an essential component of Zen training, and
         he therefore played a role in carrying out the Center’s
         mission. The panel concluded that precedent foreclosed the
         view that only teachers and faith leaders qualify for the
         ministerial exception.




         *
          This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
Case: 23-15399, 07/17/2024, ID: 12897349, DktEntry: 43-1, Page 3 of 12
                   BEHREND V. SAN FRANCISCO ZEN CENTER, INC.          3


                                  COUNSEL

         Jim Davy (argued), All Rise Trial & Appellate, Philadelphia,
         Pennsylvania; Kyle Quackenbush, Girard Sharp LLP, San
         Francisco, California; for Plaintiff-Appellant.
         Eileen R. Ridley (argued) and Evan L. Hamling, Foley &
         Lardner LLP, San Francisco, California; Sara A. Levine
         Abarbanel, Foley & Lardner LLP, San Diego, California; for
         Defendant-Appellee.


                                  OPINION

         VANDYKE, Circuit Judge:

             The ministerial exception protects the “freedom of a
         religious organization to select its ministers.” Hosanna-
         Tabor Evangelical Lutheran Church & Sch. v. EEOC, 565
         U.S. 171, 188 (2012). Alexander Behrend, who lived and
         worked at San Francisco Zen Center (the Center) as a Work
         Practice Apprentice (WPA), argues that he was not a
         minister. But the exception broadly ensures that religious
         organizations have the freedom to choose “who will preach
         their beliefs, teach their faith, and carry out their mission.”
         Id. at 196. Behrend’s role as a WPA clearly fits that broad
         exception, so we affirm the district court’s grant of summary
         judgment.
                                       I.
             The Center is the largest Sōtō Zen Buddhist temple in
         North America. It was formed to “encourage the practice of
         Zen Buddhism by operating one or more religious practice
         facilities and educating the public about Zen Buddhism.”
Case: 23-15399, 07/17/2024, ID: 12897349, DktEntry: 43-1, Page 4 of 12
         4         BEHREND V. SAN FRANCISCO ZEN CENTER, INC.


         Sōtō Zen Buddhism “involves bringing one’s practice
         wholeheartedly into the present moment, into the normal
         activity of one’s daily life.” “Work itself is an essential
         component of Zen training and is indistinguishable from
         other forms of practice.” The Center offers several “types of
         programs for individuals interested in learning about and
         training in Zen Buddhism,” including some programs for the
         general public and some for individuals who reside at the
         temple “full time … as monks.”
             The Center operates three residential programs that build
         on each other. First, an individual can be a “guest student”
         who lives at the temple for two to six weeks. Second, an
         individual can be a WPA for a two-to-three-year residency.
         Third, an individual who completes a Work Practice
         Apprenticeship can be staff at the temple as a continuation
         of Zen training.
             The Center explains that the WPA program is “the
         launch and the foundation for [the apprentice’s] Zen
         training.” An individual can apply to be a WPA after
         completing at least two weeks as a guest student. “WPAs
         follow a strict practice schedule of formal and work
         practice.” Formal practice includes morning and evening
         meditations and services, soji (temple cleanings), dharma
         talks, classes, and a range of other events. Work practice
         includes things like cooking, dishwashing, cleaning, and
         “doan ryo ceremonial tasks ‘which support the formal
         practice, such as ringing bells, cleaning altars, and watching
         the door during zazen meditations.’”
             Alexander Behrend became involved with the Center in
         2014 after he was in a car accident that left him with physical
         disabilities and PTSD. Behrend initially volunteered with
         the Center’s food outreach program, and then in 2015 he
Case: 23-15399, 07/17/2024, ID: 12897349, DktEntry: 43-1, Page 5 of 12
                   BEHREND V. SAN FRANCISCO ZEN CENTER, INC.         5


         began attending meditations a few times a week and
         participating in the “Saturday sangha,” a group of
         nonresidents who volunteered and listened to a dharma talk
         (a talk about the precepts of the faith). He initially was not
         interested in adopting a new religion, but he eventually
         “considered himself a practicing Zen Buddhist.”
             Following his car accident, Behrend was unable to
         remain in his prior employment and therefore unable to
         afford his apartment. In 2016, he spoke with the Center’s
         head of practice because he was given a one-month notice of
         losing his housing. He then applied and was accepted as a
         guest student in November 2016. In January 2017, he was
         accepted as a WPA, where he received room and board at
         the center and a small stipend.
             Behrend’s schedule as a WPA included meditation,
         lunch with other students, dharma talks, and a range of work
         duties. His work duties began in guest services, where he
         checked guests in, prepared guest rooms and conference
         spaces, cleaned, answered guests’ questions, and began each
         day praying with the guest services team. He then worked
         in the kitchen cooking and washing dishes, and again spent
         a few minutes each morning in front of an altar with the rest
         of the crew. Finally, Behrend was assigned to the
         maintenance crew in September 2018, but that work
         exacerbated his PTSD symptoms.             Behrend sought
         accommodations, including moving off the maintenance
         crew, but eventually the Center “made a decision to end [his]
         participation in the Program.”
            Behrend sued for disability discrimination under the
         Americans with Disabilities Act (ADA) in the Northern
         District of California, and the Center moved for summary
         judgment on its affirmative defense under the First
Case: 23-15399, 07/17/2024, ID: 12897349, DktEntry: 43-1, Page 6 of 12
         6         BEHREND V. SAN FRANCISCO ZEN CENTER, INC.


         Amendment’s ministerial exception. The district court
         granted the Center’s motion, determining that no party
         disputed that the Center is a religious organization and the
         undisputed facts established that Behrend fit within the
         ministerial exception. Behrend now appeals, arguing that he
         was not a minister because he performed mostly menial
         work and did not have a “key role in making internal church
         decisions and transmitting the faith to others.”
                                      II.
            “We review the grant of summary judgment de novo,
         viewing the evidence and drawing all reasonable inferences
         in the light most favorable to the non-moving party.”
         Edwards v. Wells Fargo & Co., 606 F.3d 555, 557 (9th Cir.
         2010).
                                      III.
              The ministerial “exception exempts a church’s
         employment relationship with its ‘ministers’ from the
         application of some employment statutes, even though the
         statutes by their literal terms would apply.” Alcazar v. Corp.
         of the Cath. Archbishop of Seattle, 627 F.3d 1288, 1290 (9th
         Cir. 2010) (en banc). The exception is grounded in both
         religion clauses of the First Amendment.                 “The
         Establishment Clause prevents the Government from
         appointing ministers, and the Free Exercise Clause prevents
         it from interfering with the freedom of religious groups to
         select their own.” Hosanna-Tabor, 565 U.S. at 184.
         “Requiring a church to accept or retain an unwanted
         minister, or punishing a church for failing to do so, …
         interferes with the internal governance of the church,
         depriving the church of control over the selection of those
         who will personify its beliefs.” Id. at 188. So “[t]he
         ministerial exception was recognized to preserve a church’s
Case: 23-15399, 07/17/2024, ID: 12897349, DktEntry: 43-1, Page 7 of 12
                   BEHREND V. SAN FRANCISCO ZEN CENTER, INC.         7


         independent authority” “to select, supervise, and if
         necessary, remove a minister without interference by secular
         authorities.” Our Lady of Guadalupe Sch. v. Morrissey-
         Berru, 591 U.S. 732, 747 (2020).
              Behrend argues on appeal that the exception only covers
         those with “key roles” in preaching and transmitting the faith
         to others. But precedent from our court and the Supreme
         Court evinces a much broader rule that covers positions like
         his.
                                      A.
              To start, there is no “rigid formula for deciding when an
         employee qualifies as a minister.” Hosanna-Tabor, 565 U.S.
         at 190. In Hosanna-Tabor, the Court considered whether the
         exception applied to a “called” teacher at a Lutheran school
         who was commissioned by the Church after completing a
         special religious teaching program, and who taught
         elementary school math, language arts, social studies, gym,
         art, music, and religion to her students. Id. at 178. Even
         though only a small part of her day was spent actually
         teaching religion, the Court determined the exception
         applied, considering “all the circumstances of her
         employment.” Id. at 190. The Court found relevant that she
         was given a formal title by the Church, that she held herself
         out as a minister, and that she received the title after “a
         formal process of commissioning.” Id. at 191. Also
         important was that her job duties “reflected a role in
         conveying the Church’s message and carrying out its
         mission.” Id. at 192 (emphasis added).
             In Our Lady of Guadalupe, the Court considered whether
         the exception applied to two other elementary school
         teachers, this time at Catholic schools. The teachers were
         not “called” or commissioned by the Church and did not
Case: 23-15399, 07/17/2024, ID: 12897349, DktEntry: 43-1, Page 8 of 12
         8         BEHREND V. SAN FRANCISCO ZEN CENTER, INC.


         receive extraordinary training from the Church, but they
         were required to teach religion and pray with their students.
         591 U.S. at 738–44. Again, the Court determined that the
         exception applied, reemphasizing that there was no “rigid
         formula” and instead “a variety of factors may be
         important.” Id. at 750–51. The Court explained that the
         considerations in Hosanna-Tabor were “relevant because of
         their relationship to [the teacher’s] ‘role in conveying the
         Church’s message and carrying out its mission,’ but the other
         noted circumstances also shed light on that connection.” Id.
         at 752 (internal citation omitted) (quoting Hosanna-Tabor,
         565 U.S. at 192).
             In analyzing whether someone falls within the
         ministerial exception, our role as a court is to “take all
         relevant circumstances into account and to determine
         whether each particular position implicated the fundamental
         purpose of the exception.” Id. at 758. That purpose is to
         ensure “[t]he independence of religious institutions in
         matters of ‘faith[,] … doctrine,’” and “church government.”
         Id. at 746. While titles and learning requirements might be
         relevant, “[w]hat matters, at bottom, is what an employee
         does.” Id. at 753 (emphasis added). For schools like those
         in Hosanna-Tabor and Our Lady of Guadalupe,
         “[e]ducating and forming students in the [religious] faith lay
         at the core of the mission,” and so the teachers “performed
         vital religious duties.” Id. at 756 (emphasis added).
             Here, the ministerial exception protects the Center’s
         ability to determine who may serve in its WPA program.
         While Behrend argues that he was not a minister because, as
         a WPA, he performed mostly menial work, there is no
         genuine dispute that “[w]ork itself is an essential component
         of Zen training and is indistinguishable from other forms of
         practice.” And a Work Practice Apprenticeship is “the
Case: 23-15399, 07/17/2024, ID: 12897349, DktEntry: 43-1, Page 9 of 12
                   BEHREND V. SAN FRANCISCO ZEN CENTER, INC.          9


         launch and the foundation for [the apprentice’s] Zen
         training.” Behrend, as a WPA, surely had a “role in carrying
         out [the Center’s] mission,” Hosanna-Tabor, 565 U.S. at
         192; Our Lady of Guadalupe, 591 U.S. at 756–57.
                                       B.
             Behrend argues to the contrary that the ministerial
         exception does not apply because his role as a WPA “was
         not key to [the Center’s] ability to preach and transmit their
         faith to others.” In his view, only teachers and leaders of the
         faith qualify for the exception. But precedent clearly
         forecloses that view, and for good reason.
             First, in Our Lady of Guadalupe, the Supreme Court
         specifically addressed whether such a role is required. 591
         U.S. at 758 n.26. The Court explained that Hosanna-Tabor
         “did not suggest that the exception it recognized applied only
         to ‘leaders.’” Id. And while Our Lady of Guadalupe and
         Hosanna-Tabor emphasized the plaintiffs’ roles as teachers
         of their faith, that was because the plaintiffs in those cases
         were teachers. It makes sense to emphasize an individual’s
         role in sharing the message with another generation of
         believers when that is the role she plays in the church. But
         Hosanna-Tabor and Our Lady of Guadalupe did not do so at
         the exclusion of those whose roles in a church may not
         include overt teaching. See id.
             Second, our own precedent does not reflect the
         circumscribed view of the ministerial exception urged by
         Behrend. See Alcazar, 627 F.3d at 1292. In Alcazar, we
         applied the exception to a Catholic seminarian who, while
         studying to become a priest, was not yet ordained and was
         not teaching the faith to others. Instead, he “was hired [by a
         church] to do maintenance of the church and also assisted
         with Mass.” Id. We concluded that the exception applied
Case: 23-15399, 07/17/2024, ID: 12897349, DktEntry: 43-1, Page 10 of 12
         10         BEHREND V. SAN FRANCISCO ZEN CENTER, INC.


         because he did this work “as part of his seminary training,”
         even though he was not yet a teacher or a leader in that
         church. Id.
             Both our precedent and that of the Supreme Court
         proscribe a rule by which only those who are high up in a
         religious organization can qualify as ministers. This makes
         sense: if leadership was a requirement, cloistered nuns or
         monks might very well be disqualified. Our Lady of
         Guadalupe, 591 U.S. at 758 n.26 (questioning whether under
         that view a rabbi or clergy member who “spends almost all
         of his or her time studying Scripture or theology and writing
         instead of ministering” would fall outside the exception).
         Since the purpose of the exception is to ensure a religious
         organization’s independence in matters of faith, doctrine,
         and government, surely it applies just as readily to those who
         perform vital, but not necessarily hierarchical, functions.
             Take, for example, a Catholic acolyte whose job is “to
         serve at the altar and to assist the priest and deacon.” 1 Such
         a person provides an extra set of hands to the priest or deacon
         during Mass by “prepar[ing] the altar and the sacred vessels,
         and … distribut[ing] the Eucharist to the faithful[.]” 2 He has
         no role in leading the congregation and generally does not
         speak at all during Mass, let alone teach. But surely the
         ministerial exception allows a Catholic church to determine
         for itself who can and cannot serve at the altar.
            The Center’s WPA program, while perhaps not as
         familiar to many, is no less protected. Behrend was tasked

         1
          See U.S. Conf. of Cath. Bishops, General Instruction of the Roman
         Missal ch. 3, § 98 (2011), https://www.usccb.org/prayer-and-
         worship/the-mass/general-instruction-of-the-roman-missal.
         2
             Id.
Case: 23-15399, 07/17/2024, ID: 12897349, DktEntry: 43-1, Page 11 of 12
                     BEHREND V. SAN FRANCISCO ZEN CENTER, INC.                  11


         with performing maintenance, kitchen, and guest services.
         But he was also responsible for assisting with rituals,
         participating in meditations and services, cleaning the
         temple, attending talks and classes, and performing doan ryo
         ceremonial tasks like ringing bells and cleaning altars. He
         lived and worked full time at the temple as a monk. While
         Behrend may not have taught and was not a part of the
         hierarchical leadership structure, he “performed vital
         religious duties” as part of the Center’s WPA program. Our
         Lady of Guadalupe, 591 U.S. at 756. 3 In short, were the
         court to adopt a rule like the one Behrend suggests, we would
         be “interfering with the freedom of religious groups to
         select” who may or may not serve as a live-in monk.
         Hosanna-Tabor, 565 U.S. at 184. The purpose of the
         ministerial exception, to ensure “[t]he independence of
         religious institutions” in matters of faith, doctrine, and
         government would not be served by such a rule. Our Lady
         of Guadalupe, 591 U.S. at 746.
                                           IV.
             The religion clauses of the First Amendment give the
         Center the freedom “to select, supervise, and if necessary,
         remove a minister without interference by secular
         authorities.” Id. at 747. Because Behrend had a “role in …
         carrying out [the Center’s] mission,” he qualifies for the

         3
           In light of the entanglement concerns that undergird the ministerial
         exception, the Supreme Court has emphasized that “[a] religious
         institution’s explanation of the role of such employees in the life of the
         religion in question is important.” Our Lady of Guadalupe, 591 U.S. at
         757. We therefore defer to the Center’s view that Behrend’s duties are,
         by nature, religious. See generally Bollard v. California Province of the
         Soc’y of Jesus, 196 F.3d 940, 947 (9th Cir. 1999) (a religion’s “choice
         of representative” is “a decision to which we would simply defer without
         further inquiry”).
Case: 23-15399, 07/17/2024, ID: 12897349, DktEntry: 43-1, Page 12 of 12
         12       BEHREND V. SAN FRANCISCO ZEN CENTER, INC.


         ministerial exception. Hosanna-Tabor, 565 U.S. at 192; Our
         Lady of Guadalupe, 591 U.S. at 752. Therefore, the district
         court properly granted summary judgment based on the
         ministerial exception.
              AFFIRMED.
